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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 13-22500-CIV-ALTONAGA/McALILEY

   JONATHAN LORD, M.D.,

          Plaintiff,

   v.

   UNIVERSITY OF MIAMI,

         Defendant.
   ______________________________________/

                        DEFENDANT’S MEMORANDUM REGARDING
                       INADMISSIBILITY OF NEWSPAPER ARTICLES

         Defendant, University of Miami (the “University”), hereby addresses the admissibility of

  Plaintiff’s Exhibits P-126, P-138, P-142, P-143, P-144, P-145, P-158, P-159, P-160, P-190 and P-

  191, which are (1) copies of articles published in the Miami Herald regarding the University, its

  medical school and the petition that was circulated by faculty that referred to the “failed

  leadership” of the Dean and Dr. Lord and noted that the faculty had lost confidence in the

  leadership ability of the Dean and Dr. Lord; and (2) e-mails about the articles (some of which are

  requests from reporters for comment by the University, which comment was declined). None of

  the articles contains any defamatory statements about Dr. Lord; rather, the articles report on the

  above-referenced matters.

         As a threshold matter, the articles are rank hearsay and, thus, are inadmissible. It is well

  established that “[u]nsworn newspaper articles constitute inadmissible hearsay and cannot be

  considered.” Bouton v. Ocean Properties, Ltd., No. 16-cv-80502-BLOOM/Valle, 2017 WL

  4792488, at *27 n.31 (S.D. Fla. Oct. 23, 2017) (citing Dallas Cty. v. Commercial Union Assur.

  Co., 286 F. 2d 388, 391-92 (5th Cir. 1961) (“Of course, a newspaper article is hearsay, and in
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  almost all circumstances is inadmissible”). See also Slone v. Judd, No. 8:09-CV-1175-T-27TGW,

  2011 WL 1124618, at *3 (M.D. Fla. Mar. 25, 2011) (excluding newspaper article because

  “[n]ewspaper articles are inadmissible hearsay when ‘relevant primarily to establish the truth of

  their contents.’”) (quoting United States v. Baker, 432 F. 3d 1189, 1211-12 (11th Cir. 2005)).

          Faced with the foregoing well-established law that requires the exclusion of the newspaper

  articles that Plaintiff seeks to have admitted, Plaintiff argues that he does not seek to admit the

  articles for the truth of the matter but, rather, that they go to his alleged emotional distress damages.

  But the argument is entirely circular and makes no sense. The articles would have to be offered for

  their truth (i.e., the statements in the articles are what would have caused the alleged harm). That

  hearsay purpose is not permissible. Alternatively, the articles could be responsible for Dr. Lord’s

  alleged emotional distress caused by the University of Miami only if they contained statements

  about him that are both false and attributable to the University. Plaintiff has identified no such

  statements and cannot do so.

          Finally, there is no hearsay exception applicable here. To the extent that Dr. Lord argues

  that he seeks to admit the articles for their effect on the listener and to prove reputational damage

  and consequent inability to locate comparable employment, he must prove that a specific listener

  relied on statements in the articles in making employment decisions that affected Plaintiff. See,

  e.g., United States v. Elysee, 993 F.3d 1309, 1319 n.23 (11th Cir. 2021) (“We assume that the

  words ‘effect on the listener’ refer to the listener's behavior in the form of conduct, words, or acts

  and that the effect would be relevant because it would tend to prove a fact at issue in the case.

  During the hearing in limine, defense counsel referred to only one listener, Cabrera.”); Al-Habash

  v. Raytheon Co., No. 4:15-CV-00450-ALM, 2016 WL 9558956, at *2 (E.D. Tex. Sept. 6, 2016),

  R&R adopted, 2016 WL 6155601 (E.D. Tex. Oct. 24, 2016) (citing See Alvarado v. Mine Serv.,



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  Ltd., 626 Fed. Appx. 66, 70 (5th Cir. 2015) (“Considering a statement not for its truth but as an

  explanation of why the listener acted in a certain manner is a hornbook example of nonhearsay.”);

  Brauninger v. Motes, 260 Fed.Appx. 634, 637 (5th Cir. 2007) (holding out-of-court statements in

  an investigative report as nonhearsay when used to prove what human resources relied on in

  making the decision to fire employee)); Trap v. United States, No. CV1300003DMGJPRX, 2017

  WL 8793328, at *11 n.28 (C.D. Cal. Oct. 31, 2017) (equating “effect on the listener” with the

  listener’s “subsequent actions”). Plaintiff offers no such evidence here, and none exists. 1

         Because the newspaper articles (and related e-mails) Plaintiff seeks to admit are hearsay

  and no exception to allow admission exists, the aforementioned exhibits should be excluded.

                                                Respectfully submitted,

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          To be clear, Plaintiff has not identified (and cannot identify) a single witness to show how
  the articles affected them in such a manner; none of the witnesses on Plaintiff’s Trial Witness List
  (D.E. 160-3) can do so.
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

  CM/ECF this 19th day of September, 2022, upon the following:

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                                            By: /s/ Christopher M. Yannuzzi
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